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                       IN THE UNITED STATES DISTRICT COURT FOR THE
                               EASTERN DISTRICT OF VIRGINIA
                                         Alexandria Division

 TIM P. BRUNDLE, on behalf of the
     ConstellisEmployee Stock OwnershipPlan,
     and on behalf of a class of all other persons
     similarly situated

          Plaintiff


     V.                                                    l:15-cv-1494 (LMB/IDD)

 WILMINGTON TRUST, N.A., as successor to
     Wilmington Trust Retirement and
     Institutional Services Company

          Defendant.

                                 REDACTED MEMORANDUM OPINION


          On October 20,2016, the Court issued an order denying defendant's Motion to Exclude

  Expert Testimony of DanaMessina, granting in part anddenying in partplaintiffs Motion for

  Partial Summary Judgment, anddenying defendant's Motion for Summary Judgment. This

  memorandum opinion supplements the reasoning articulated in open court.'
          PlaintiffTimP. Brundle ("plaintiff' or "Brundle") is an employee of Constellis Holdings,

  Inc. ("Constellis"),^ and was a participant inanemployee stock ownership plan ("ESOP")
  established for the benefit of Constellis employees. Brundle has sued defendant Wilmington

  Trust N.A. ("defendant" or "Wilmington"), the trustee for the ESOP in connection with two

  transactions: the ESOP's acquisition of 100% of the outstanding voting shares of Constellis in

  ' Because therecord contains financial data thatis presently under seal, the Court has redacted
  the publicly available version of this memorandum opinion; however, all undersealfilings will
  be imsealedifthis civil action goes to trial because the financial data at issue are essential
  evidence and the trial will not be sealed.

  ^Constellis Holdings, Inc., acquired Constellis Group, Inc., onJuly 25,2014; references to
  "Constellis" in this memorandum opinion are to the latter.
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